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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                 RICHMOND DIVISION


EMERSON EUGENE STEVENS,                  )
    Petitioner                           )
                                         )
              v.                         )
                                         )
ADRIANNE BENETT,                         )
     Chair, Virginia Parole Board,       )
     Respondent.                         )




                                   APPENDIX
                                      TO
                      PETITION FOR WRIT OF HABEAS CORPUS




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